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ROBERT E. FREITAS (SBN 80948)
rfreitas@fawlaw.com
JESSICA N. LEAL (SBN 267232)
jleal@fawlaw.com
FREITAS & WEINBERG LLP
350 Marine Parkway, Suite 200
Redwood Shores, California 94065
Telephone:    (650) 593-6300
Facsimile:    (650) 593-6301
Attorneys for Counterdefendant
Surbhi Sarna


                               UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA


BOSTON SCIENTIFIC CORPORATION,               No. 3:19-cv-05645-VC
BOSTON SCIENTIFIC SCIMED, INC.
AND FORTIS ADVISORS LLC,                     (Related Case No. 3:20-cv-02829-VC)

                 Plaintiffs,                 DECLARATION OF JESSICA N. LEAL
                                             IN SUPPORT OF REQUEST FOR
       v.                                    JUDICIAL NOTICE

BIOCARDIA, INC.,

                 Defendant.                  Date:     December 3, 2020
                                             Time:     10:00 a.m.
                                             Ctrm:     3, 17th Floor
                                             Judge:    Hon. Vince Chhabria



BIOCARDIA, INC.,
                 Counterclaimant,
v.

BOSTON SCIENTIFIC CORPORATION,
BOSTON SCIENTIFIC SCIMED, INC.
FORTIS ADVISORS LLC, AND SURBHI
SARNA,
                 Counterdefendants.




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       I, Jessica N. Leal, declare:
       1.      I am an attorney with the law firm Freitas & Weinberg LLP, counsel of record for

the counterdefendant Surbhi Sarna and the plaintiff/counterdefendant Fortis Advisors LLC in
Case No. 3:19-cv-05645-VC, and the defendant EXXclaim Capital Partners I, LP in Case No.

3:20-cv-02829-VC. I submit this declaration in support of the motions to dismiss BioCardia,
Inc.’s Second Amended Counterclaim brought by Ms. Sarna and Fortis Advisors LLC and the

motion to dismiss BioCardia’s Second Amended Complaint brought by EXXclaim Capital
Partners I, LP. I have personal knowledge of the facts set forth in this declaration and I could and

would testify competently to them if called as a witness.
       2.      Attached hereto as Exhibit A is a true and correct copy of the complete set of

documents my office obtained from the Secretary of State for the State of Delaware for the
corporation “BioCardia, Inc.” My office affixed the bottom right bates numbers [000001 to

000058] on each page for citation purposes.

       3.      Attached hereto as Exhibit B is a true and correct copy of the complete set of

documents my office obtained from the Secretary of State for the State of Delaware for the

corporation “BioCardia Lifesciences, Inc.” My office affixed the bottom right bates numbers

[000059 to 000207] on each page for citation purposes.

       4.      Attached hereto as Exhibit C is a true and correct copy of the complete set of

documents my office obtained from the Secretary of State for the State of Delaware for the

corporation “CareDx, Inc.” My office affixed the bottom right bates numbers [000208 to
000445] on each page for citation purposes.

       5.      Attached hereto as Exhibit D is a true and correct copy of the document produced

as Bates Nos. BC-BSC_0016550-16560 by the counterclaimant/plaintiff BioCardia, Inc. of Peter
Altman’s July 1999 employment agreement referenced in paragraphs 108 and 109 of
BioCardia’s Second Amended Counterclaim (Case No. 3:19-cv-05645-VC) and paragraphs 123

and 124 of BioCardia’s Second Amended Complaint (Case No. 3:20-cv-02829-VC).




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       6.      Attached hereto as Exhibit E is a true and correct copy of the document produced
as Bates Nos. BC-BSC_0015656-15661 by the counterclaimant/plaintiff BioCardia, Inc. of

Simon Stertzer’s “Agreement for Scientific Advisor Services” referenced in paragraph 107 of
BioCardia’s Second Amended Counterclaim (Case No. 3:19-cv-05645-VC) and paragraph 122

of BioCardia’s Second Amended Complaint (Case No. 3:20-cv-02829-VC).
       7.      Attached hereto as Exhibit F is a true and correct copy of CareDx, Inc.’s status

with the State of Delaware my office obtained through https://corp.delaware.gov/onlinestatus/.

       8.      Attached hereto as Exhibit G is a true and correct copy of BioCardia

Lifesciences, Inc.’s status with the State of Delaware obtained through

https://corp.delaware.gov/onlinestatus/.

       9.      Attached hereto as Exhibit H is a true and correct copy of the Agreement and

Plan of Merger by and among Tiger X Medical, Inc., BioCardia, Inc., Icicle Acquisition Corp.,

and Jay Moyes, as the Company Representative and Steven Rubin, as the Parent Representative,

dated as of August 22, 2016, available at https://www.sec.gov/Archives/edgar/data/925741/

000119312516691114/d242455dex21.htm.

       10.     Attached hereto as Exhibit I is a true and correct copy of BioCardia, Inc.’s

August 13, 2020 Form 10-Q filing with the United States Securities and Exchange Commission

(“SEC”), available at

https://www.sec.gov/Archives/edgar/data/0000925741/000143774920017718/

bcda20200630_10q.htm.

       11.     Attached hereto as Exhibit J is a true and correct copy of BioCardia, Inc.’s April

9, 2020 Form 10-K filing with the SEC, available at https://www.sec.gov/Archives/edgar/data/

925741/000143774920007405/bcda20191231_10k.htm.

       12.     Attached hereto as Exhibit K is a true and correct copy of U.S. Patent

Application No. 11/016,448, filed December 17, 2004, published on June 22, 2006 as US
2006/0135961.




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       13.    Attached hereto as Exhibit L is a true and correct copy of U.S. Patent Application
No. 11/295,412, filed December 6, 2005, published on April 20, 2006 as US 2006/0084943.

       14.    Attached hereto as Exhibit M is a true and correct copy of U.S. Patent
Application No. 12/177,338, filed July 22, 2008, published on November 20, 2008 as US

2008/0287918.
       15.    Attached hereto as Exhibit N is a true and correct copy of U.S. Patent No.

9,173,571.
       16.    Attached hereto as Exhibit O is a true and correct copy of U.S. Patent No.

10,610,149.
       17.    Attached hereto as Exhibit P is a true and correct copy of U.S. Patent No.

10,639,016.
       18.    Attached hereto as Exhibit Q is a true and correct copy of U.S. Patent No.

10,646,209.

       19.    Attached hereto as Exhibit R is a true and correct copy of the March 2010

published article “The Origin and Pathogenesis of Epithelial Ovarian Cancer: A Proposed

Unifying Theory” by Robert J. Kurman, MD and Ie-Ming Shih, MD, PhD., available at

https://journals.lww.com/ajsp/Fulltext/2010/03000/The_Origin_and_Pathogenesis_of_Epithelial

_Ovarian.18.aspx.



       I declare under penalty of perjury under the laws of the United States of America, that the
foregoing is true and correct. Executed this 24th day of September, 2020, at San Francisco,

California.

                                                          /s/Jessica N. Leal
                                                            Jessica N. Leal




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